
73 So. 3d 850 (2011)
Erik MOTA, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-1471.
District Court of Appeal of Florida, Fifth District.
November 4, 2011.
James S. Purdy, Public Defender, and Noel A. Pelella, Assistant Public Defender, Daytona Beach, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Rebecca Roark Wall, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Edwards v. Arizona, 451 U.S. 477, 101 S. Ct. 1880, 68 L. Ed. 2d 378 (1981) (asserting that accused may, after invoking right to counsel, voluntarily initiate further communication with police).
ORFINGER, C.J., GRIFFIN and PALMER, JJ., concur.
